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                         EXHIBIT E




                                                                        Exhibit E
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                                                                              TOMADAN DUA TAHTA HAUR MINNIE
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                                                                                                            US010076338B2

   (12) United States Patent                                                       (10) Patent No.: US 10 ,076 ,338 B2
           Fitz et al.                                                             (45) Date of Patent:                                 Sep . 18 , 2018
   (54 ) DETACHABLE COIL INCORPORATING
            STRETCH RESISTANCE
                                                                               (58 ) Field of Classification Search
                                                                                        CPC ........ A61B 17 / 12022 ; A61B 17 / 12154; A61B
                                                                                                                               17 / 12145 ; A61B 17 / 12113 ;
   ( 71) Applicant: MicroVention , Inc., Aliso Viejo, CA                                                          (Continued )
                         (US )
                                                                               (56 )                           References Cited
   ( 72 ) Inventors: Matthew J . Fitz, Vista , CA (US) ;
                     Cathy Lei, Chino Hills, CA (US) ;                                             U . S. PATENT DOCUMENTS
                      Joseph Gulachenski, Trabuco Canyon ,
                         CA (US ) ; Maricruz Castaneda ,                               5 , 853 ,418 A          12 / 1998 Ken et al
                         Mission Viejo , CA (US ); Gary Currie,                        6 , 193 ,728 B1           2/ 2001 Ken et al.
                         Fallbrook , CA (US)                                                                      (Continued )
  @(73 ) Assignee: MicroVention , Inc., Aliso Viejo , CA                                      FOREIGN PATENT DOCUMENTS
                         (US )
                                                                               EP                1889577 AL                2 / 2008
   ( * ) Notice:         Subject to any disclaimer, the term of this           WO          WO2005 / 113035 A2             12 / 2005
                         patent is extended or adjusted under 35                                                  (Continued )
                         U .S .C . 154 (b ) by 208 days.
                                                                                                     OTHER PUBLICATIONS
   (21) Appl. No.: 15/081,065                                                  United States Patent and Trademark Office Patent Trial and Appeal
   (22 ) Filed :         Mar. 25 , 2016                                         Board , Decision on Appeal mailed Jan . 25, 2016 in U . S. Appl. No.
                                                                                12 / 180 ,834 , 7 pages .
   (65 )                         Prior Publication Data                                             (Continued )
            US 2016 /0206322 A1 Jul. 21, 2016                                  Primary Examiner — Katherine M Shi
                 Related U . S . Application Data                              (57)                ABSTRACT
   (63 ) Continuation of application No. 12/ 180 ,834, filed on                An implantable embolic device having a stretch -resistant
         Jul. 28 , 2008.                                                       member passing therethrough that also serves as a tether for
   (60 ) Provisional application No . 60 /952,520 , filed on Jul.              connecting the device to a delivery system . The stretch
         27, 2007.                                                             resistant member is attached at a proximal and distal end of
                                                                               the device and extends proximally to the delivery device .
   (51 ) Int. CI.                                                              The proximal attachment point serves to isolate a distal,
            A61F 2 /06                       ( 2013 .01 )                      stretch resisting segment of the member from axial tension
            A61B 17 / 12                     (2006 .01 )                       placed on a proximal, connecting section of the member.
                                   (Continued )                                Thus, the portion of the stretch - resistant member being used
   (52 ) U .S . Cl.                                                            to connect the embolic device to a delivery device may be
            CPC .. A61B 17 / 12154 ( 2013 .01); A61B 17 / 12022                placed under tension without placing tension or distorting
                       ( 2013.01); A61B 17/ 12145 ( 2013 .01) ;                the implant.
                          ( Continued )                                                     10 Claims, 6 Drawing Sheets
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                                                                076 ,2338 B2
   (51) Int. CI.                                                         2006 / 0052815 A1 3 / 2006 Fitz et al.
           A61F 2 /95               ( 2013 .01)                          2007/ 0239193 A1 10 / 2007 Simon et al.
           A61F 2 /01               ( 2006 .01)                          2008 /0103585 A15 /2008 Monstadt et al.
           A61B 90 /00              ( 2016 .01)                                     FOREIGN PATENT DOCUMENTS
   (52 ) U .S . CI.
           ???                A61F 2 / 95 ( 2013 .01) ; A61B 90 / 39   WO       WO2005 / 113035 A3        12 /2005
                 ( 2016 .02); A61B 2017 / 12068 ( 2013.01); A61F       WO       WO 2006 / 126182       * 11 /2006
                           2002 /011 ( 2013 .01); A61F 2002 /9505
                                                        (2013 .01)                       OTHER PUBLICATIONS
   (58 ) Field of Classification Search                                United States Patent and Trademark Office , Final Office Action
           CPC .. ... A61B 2017 / 12068; A61B 17 / 1214 ; A61B         dated Nov . 7 , 2012 in U . S . Appl. No . 12 / 180, 834 , 12 pages.
                                          2017 / 12063 ; A61F 2/ 95    United States Patent and Trademark Office, Office Action dated Apr.
           USPC .............. 606 /108 , 191, 194, 200 ; 623 /1. 11   12 , 2012 in U . S . Appl. No . 12 / 180 ,834 , 10 pages .
           See application file for complete search history .          United States Patent and Trademark Office , Final Office Action
                                                                       dated Jan . 6 , 2011 in U .S . Appl. No . 12 / 180 ,834 , 10 pages .
                                                                       United States Patent and Trademark Office, Office Action dated Jun .
   (56 )                  References Cited                             29 , 2010 in U . S . Appl. No . 12 /180 , 834 , 14 pages .
                                                                       WIPO , U . S . International Search Authority , International Search
                   U . S . PATENT DOCUMENTS                            Report and Written Opinion dated Oct. 20 , 2008 in International
                                                                       Patent Application No. PCT/US2008 /071325 , 9 pages.
    2004 /0002733 AL        1/ 2004 Teoh
    2004/0034363 A1 2/2004 Wilson et al.                               * cited by examiner




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                                                      FIG . 9




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                                                        US 10 ,076 ,338 B2
          DETACHABLE COIL INCORPORATING                                     devices such as coils, stents, filters, and the like within a
                   STRETCH RESISTANCE                                       body cavity including , but not limited to , blood vessels,
                                                                            fallopian tubes, malformations such as fistula and aneu
                   RELATED APPLICATIONS                                     rysms, heart defects (e . g. left atrial appendages and sepal
                                                                       5 openings), and other luminal organs.
       This application is a continuation of and claims priority to         The system comprises an implant, a delivery catheter
   U .S . patent application Ser. No . 12 / 180 ,834 filed Jul. 28 ,     (generically referred to as the pusher or delivery pusher ), a
   2008 , which claims priority to U . S . Provisional Application          detachable joint for coupling the implant to the pusher, a
   Ser. No. 60 /952 ,520 , filed Jul. 27 , 2007, entitled Detachable
   Coil Incorporating Stretch Resistance , incorporated byy ref 10 heat generating apparatus (generically referred to as the
                                                                   heater ), and a power source to apply energy to the heater.
   erence herein . This application also incorporates by refer        The present invention also includes an apparatus for
   ence U .S . Provisional Application Ser. No.60/604 ,671 , filed          delivering a stretch - resistant embolic coil and a method for
   Aug. 25, 2004 entitled Thermal Detachment System For             attaching and detaching the coil to a delivery system . The
   Implantable Devices, U .S . Provisional Application Ser. No.
   60 /685 .342 filed May 27, 2005 entitled Thermal Detachment apparatus incorporates a coil and a stretch -resistantmember
   System For Implantable Devices and U . S . patent application 15 with a distal end and a proximal end. In addition to providing
   Ser. No . 11 / 212 , 830 filed Aug . 25 , 2005 entitled Thermal stretch resistance , the member serves to detachably couple
   Detachment System For Implantable Devices.                       the implant coil to the delivery catheter.
                                                                               The present invention may also be used in conjunction
                  FIELD OF THE INVENTION                                    with the delivery mechanism disclosed in U . S . patent appli
                                                                       20 cation Ser. No. 11 /212 ,830 filed Aug . 25 , 2005 entitled
      The present invention relates to systems and methods for              " Thermal detachment system for implanting devices ,”
   delivering implant devices to a target site or location within           which is incorporated by reference herein in its entirety .
   the body of a patient. The present invention also relates to                In one aspect of the present invention , the implant is
   systems and methods for delivering a stretch - resistant                 coupled to the pusher using a tether, string , thread , wire ,
   implant and a method for attaching and detaching the 25 filament, fiber, or the like. Generically this is referred to as
   implant to and from a delivery system .                 the tether. The tether may be in the form of a monofilament,
                                                                            rod , ribbon , hollow tube, or the like .
            BACKGROUND OF THE INVENTION                                       Many materials can be used to detachably join the implant
      Delivery of implantable therapeutic devices by less inva   to the pusher. One class of materials are polymers such as
   sive means has been demonstrated to be desirable in numer- 30 polyolefin , polyolefin elastomer such as those made by Dow
   ous clinical situations. For example , vascular embolization marketed under the trade name Engage or Exxon marketed
   has been used to control vascular bleeding, to occlude the under         the trade name Affinity, polyethylene , polyester
                                                                     (PET), polyamide (Nylon ), polyurethane, polypropylene,
   blood supply to tumors , to occlude fallopian tubes , and to
   occlude vascular aneurysms, particularly intracranial aneu        block copolymer such as PEBAX or Hytrel, and ethylene
   rysms. In recent years , vascular embolization for the treat - 35 vinyl alcohol (EVA ); or rubbery materials such as silicone,
   ment of aneurysms has received much attention . Implants latex , and Kraton . In some cases, the polymer may also be
   used to treat aneurysms are often convoluted or coiled cross -linked with radiation to manipulate its tensile strength
    lengths of wound wire and are referred to as “microcoils ."      and melt temperature . Another class of materials is metals
   Microcoils work by filling an aneurysm causing the blood          such as nickel titanium alloy (Nitinol), gold , and steel. The
   flow through the aneurysm to slow or stop , thereby inducing 40 selection of the material depends on the capacity of the
   thrombosis within the aneurysm .                                material to store potential energy , the melting or softening
     Microcoils are extremely flexible and have very little temperature , the power used for detachment, and the body
   structural integrity . In order to make them easier to retrieve          treatment site .
   and reposition , recent efforts have been directed to making
   them stretch - resistant. For example, a stretch -resistant 4545 by The tether may be joined to the implant and /or the pusher
                                                                        welding , knot tying , soldering , adhesive bonding, or
   embolic coil having a stretch - resistant member passing         other means  known in the art. In one embodiment where the
   through the interior lumen of the coil is described in U .S .
   Pat. No . 5 , 582 ,619 to Ken . US Patent Publication No. implant is a coil, the tether may run through the inside lumen
                                                                  of the coil and be attached to the distal end of the coil. This
   2004/0034363 to Wilson also discloses an embolic coil with     design not only joins the implant to the pusher, but also
   a stretch resistantmember having a distal end attached near
   the distal end of the coil and a proximal end of the member 50 imparts stretch resistance to the coil without the use of a
   attached to a delivery catheter .                                secondary stretch resistant member. In other embodiments
      Several different treatment modalities have been              where the implant is a coil, stent, or filter ; the tether is
   employed in the prior art for deploying implant devices. For attached to the proximal end of the implant.
   example , numerous repositionable detachment systems for           In another aspect of the present invention , the tether
   implant devices have been described in the prior art includ - 55 detachably coupling the implant to the pusher acts as a
    ing U . S . Pat. No. 5 ,895 ,385 to Guglielmi et al. and U . S . Pat. reservoir of potential energy that is released during detach
   No . 5 , 108 ,407 to Geremia et al., the contents of which are ment. This advantageously lowers the time and energy
   hereby incorporated by reference. Several systems, such as required to detach the implant because it allows the tether to
   those disclosed in U . S . Pat. No . 6 ,500, 149 to Gandhi et al. be severed by application of heat without necessarily fully
   and U .S . Pat. No. 4 , 346 ,712 to Handa et al., the contents of 60 melting the material. The stored energy also may exert a
   which are hereby incorporated by reference , describe the use          force on the implant that pushes it away from the delivery
   of a heater to detach and deploy the implant device .                    catheter. This separation tends to make the system more
                                                                            reliable because it may prevent the tether from re - solidifying
               SUMMARY OF THE INVENTION                                     and holding the implant after detachment.
                                                                       65     Stored energy may be imparted in several ways. In one
      The present invention is an implant delivery and detach -             embodiment, a spring is disposed between the implant and
   ment system used to position and deploy implantable                      pusher. The spring is compressed when the implant is
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   attached to the pusher by joining one end of the tether to one          In one embodiment, the core mandrel comprises an inner
   of either the pusher or implant, pulling the free end of the         core of radiopaque material such as platinum or tantalum
   tether until the spring is at least partially compressed , then      and an outer covering ofkink - resistant material such as steel
   affixing the free end of the tether to the other of the implant      or chromium cobalt. By selectively varying the thickness of
   or the pusher. Since both ends of the tether are restrained , 5 the inner core, radiopaque identifiers can be provided on the
   potential energy in the form of tension on the tether (or            pusher without using secondary markers.
   compression in the spring ) is stored within the system .               In another embodiment, a core material, for example
     In another embodiment, one end of the tether is fixed as           stainless steel, with desirable material properties such as
    in the previous embodiment, and then the tether is placed in        kink resistance and/ or compressive strength is selectively
   tension by pulling on the free end of the tether with a 10 covered (by, for example , plating, drawing, or similar meth
   pre - determined force or displacement. When the free end of         ods known in the art) with a low electrical resistance
   the tether is then affixed , the elongation (i.e. elastic defor material such as copper, aluminum , gold , or silver to
   mation ) of the tether material itself stores energy.            enhance its electrical conductivity, thus allowing the core
      In another aspect of the present invention , a heater is mandrel to be used as an electrical conductor.
   disposed on or within the pusher, typically , but not neces - 15 In another embodiment, a core material, for example ,
   sarily, near the distal end of the pusher. The heater may be glass or optical fiber, with desirable properties such as
   attached to the pusher by, for example , soldering, welding , compatibility with Magnetic Resonance Imaging (MRI), is
   adhesive bonding , mechanical boding , or other techniques covered with a plastic material such as PEBAX or polyimide
   known in the art. The heater may be in the form of a wound to prevent the glass from fracturing or kinking .
   coil , heat pipe , hollow tube , band, hypotube , solid bar, 20 In another aspect of the present invention , the heater is
   toroid , or similar shape. The heater may be made from a             attached to the pusher, and then one or more electrical
   variety of materials such as steel, chromium cobalt alloy ,          conductors are attached to the heater . In one embodiment a
   platinum , silver, gold , tantalum , tungsten , mangalin , chro -    pair of conductive wires runs substantially the length of the
   mium nickel alloy available from California Fine Wire                pusher and is coupled to the heater near the distal end of the
   Company under the trade name Stable Ohm , conductive 25 pusher and to electrical connectors near the proximal end of
   polymer, or the like . The tether is disposed in proximity to        the pusher. In another embodiment, one conductive wire
   the heater. The tether may pass through the lumen of a               runs the substantially the length of the pusher and the core
   hollow or coil- type heater or may be wrapped around the             mandrel itself is made from a conductive material or coated
   heater. Although the tether may be disposed in direct contact        with a conductive material to act as a second electrical lead .
   with the heater, this is not necessary . For ease of assembly, 30 The wire and the mandrel are coupled to the heater near the
   the tether may be disposed be in proximity to , but not distal end and to one or more connectors near the proximal
   actually touching , the heater.                                      end of the pusher. In another embodiment, a bipolar con
      The delivery catheter or pusher is an elongate member             ductor is coupled to the heater and is used in conjunction
   with distal and proximal ends adapted to allow the implant           with radiofrequency (RF ) energy to power the heater. In any
   to be maneuvered to the treatment site . The pusher com - 35 of the embodiments , the conductor (s ) may run in parallel to
   prises a core mandrel and one or more electrical leads to            the core mandrel or may pass through the inner lumen of a
   supply power to the heater. The pusher may taper in dimen -          substantially hollow core mandrel ( for example , a hypo
   sion and /or stiffness along the length , with the distal end        tube).
   usually being more flexible than the proximal end . In one              In another aspect of the present invention , an electrical
   embodiment, the pusher is adapted to be telescopically 40 and /or thermally insulating cover or sleeve may be placed
   disposed within a delivery conduit such as a guide catheter          over the heater . The sleeve may be made from insulating
   or microcatheter. In another embodiment, the pusher con -            materials such as polyester (PET ), Teflon , block copolymer,
   tains an inner lumen allowing it to be maneuvered over a             silicone , polyimide, polyamide, and the like.
    guide wire . In still another embodiment, the pusher can be            In another aspect of the present invention , electrical
   maneuvered directly to the treatment site without a second - 45 connector ( s ) are disposed near the proximal end of the
   ary device . The pusher may have a radiopaque marking                pusher so that the heater can be electrically connected to a
   system visible with fluoroscopy that allows it to be used in         power source through the conductors . In one embodiment,
   conjunction with radiopaque markings on the microcatheter            the connectors are in the form of a plug with one or more
   or other adjunctive devices .                                        male or female pins. In           another embodiment, the
     In another aspect of the present invention , the core 50 connector ( s ) are tubes , pins , or foil that can be connected
   mandrel is in the form of a solid or hollow shaft, wire , tube , with clip - type connectors. In another embodiment, the con
   hypotube , coil, ribbon , or combination thereof. The core       nector( s ) are tubes , pins, or foil that are adapted to mate with
   mandrelmay be made from plastic materials such as PEEK ,             an external power supply .
   acrylic , polyamide, polyimide, Teflon , acrylic, polyester,            In another aspect of the present invention , the pusher
   block copolymer such as PEBAX , or the like . The plastic 55 connects to an external power source so that the heater is
   member (s ) may be selectively stiffened along the length    electrically coupled to the power source . The power source
   with reinforcing fibers or wires made from metal, glass,             may be from battery ( s) or connected to the electrical grid by
   carbon fiber, braid , coils , or the like . Alternatively , or in    a wall outlet. The power source supplies current in the form
   combination with plastic components , metallic materials             of direct current (DC ), alternating current (AC ), modulated
   such as stainless steel, tungsten , chromium cobalt alloy, 60 direct current , or radiofrequency (RF ) at either high or low
   silver, copper, gold , platinum , titanium , nickel titanium alloy   frequency . The power source may be a control box that
   (Nitinol), and the likemay be used to form the core mandrell         operates outside of the sterile field or may be a hand - held
   Alternatively, or in combination with plastic and /ormetallic        device adapted to operate within a sterile field . The power
   components , ceramic components such as glass, optical         source may be disposable , rechargeable , or may be reusable
   fiber, zirconium , or the like may be used to form the core 65 with disposable or rechargeable battery (s ).
   mandrel. The core mandrel may also be a composite of              In another aspect of the present invention , the power
   materials .                                                          source may comprise an electronic circuit that assists the
                                                                                                                               Exhibit E
                                                                                                                               Page 11
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                                                        US 10 ,076 , 338 B2
   user with detachment. In one embodiment, the circuit detects                FIG . 8 illustrates a cross -sectional side view of a detach
   detachment of the implant and provides a signal to the user              ment system including a stent according to the present
   when detachment has occurred . In another embodiment, the                invention ;
   circuit comprises a timer that provides a signal to the user           FIG . 9 illustrates a side elevation view of an embodiment
   when a pre - set length of time has elapsed . In another 5 of an implant according to the present invention .
   embodiment, the circuit monitors the number of detach                           DETAILED DESCRIPTION OF THE
   ments and provides a signal or performs an operation such
   as locking the system off when a pre-set number of detach                                     INVENTION
   ments have been performed . In another embodiment, the 10 Turning to FIG . 1 , a detachment system 100 of the present
   circuit comprises a feedback loop thatmonitors the number invention , and specifically the distal portion of the detach
   of attachment attempts and increases the current, voltage ,
   and /or detachment time in order to increase the likelihood of ment       system 100, is illustrated . The detachment system 100
                                                                       includes  a pusher 102 that is preferably flexible . The pusher
   a successful detachment.                                            102 is configured for use in advancing an implant device 112
      InIn another aspect of
           another aspect    the present
                          of the         invention ,, the
                                 present invention    the construc
                                                          construc- 15 into and within the body of a patient and , specifically , into
   tion of the system allows for extremely short detachment                 a target cavity site for implantation and delivery of the
   time. In one embodiment the detachment time is less than 1               implant device 112. Potential target cavity sites include but
   second .                                                                 are not limited to blood vessels and vascular sites ( e . g .,
      In another aspect of the present invention, the construc              aneurysms and fistula ), heart openings and defects (e . g ., the
   tion of the system minimizes the surface temperature of the 20 left atrial appendage ), and other luminal organs ( e . g., fallo
   device during detachment. In one embodiment, the surface pian tubes).
   temperature at the heater during detachment is under 50° C .      A stretch -resistant tether 104 detachably couples the
   In another embodiment, the surface temperature at the heater   implant 112 to the pusher 102 . In this example , the tether
   during detachment is under 42° C .                             104 is a plastic tube that is bonded to the pusher 102 . A
      In another aspect of the present invention , the implant 25 substantially solid cylinder could also be a design choice for
   device includes both a stretch -resistant attribute and the              the tether 104. The stretch resistant tether 104 extends at
   ability to detachably couple the device to the delivery                  least partially through the interior lumen of an implant
   catheter. This aspectof the present invention advantageously device 112 .
   reduces the number of components and assembly steps              Near the distal end of the pusher 102 , a heater 106 is
   required to build a stretch -resistant implant device .     30 disposed in proximity to the stretch resistant tether 104 . The
      In another aspect of the present invention , tension is heater 106 may be wrapped around the stretch resistant
   placed on a coupling portion of a stretch -resistant implant tether 104 such that the heater 106 is exposed to or otherwise
   device while minimizing tension in a stretch - resistant por -           in direct contact with the blood or the environment, or
   tion of the same device. Thus, tension may be placed on the              alternatively may be insulated by a sleeve, jacket, epoxy ,
   device as described in U .S . patent application Ser . No. 35 adhesive , or the like. The pusher 102 comprises a pair of
   11 /212 ,830 during attachment of the implant device to the   electrical wires , positive electrical wire 108 and negative
   delivery catheter without placing excessive tension , which              electrical wire 110 . The wires 108 and 110 are coupled to the
   might distort the shape of the implant device (e . g ., embolic          heater 106 by any suitable means, such as, e .g ., by welding
   coil), on the portion of the implant device that provides                or soldering .
   stretch - resistance .                                              40      The electrical wires 108 , 110 are capable of being coupled
      These and other aspects and features of the present                   to a source of electrical power (not shown ). As illustrated the
   invention will be appreciated upon consideration of the                  negative electrical wire 110 is coupled to the distal end of the
   following drawings and detailed descriptions.                     heater 106 and the positive electrical wire 108 is coupled to
                                                                      the proximal end of the heater 106 . In another embodiment ,
        BRIEF DESCRIPTION OF THE DRAWINGS                         45 this configuration may be reversed , i. e ., the negative elec
                                                                     trical wire 110 is coupled to the proximal end of the heater
     FIG . 1 illustrates a cross - sectional side view of a first     106 while the positive electrical wire 108 is coupled to the
   embodiment of a detachment system according to the pres -                distal end of the heater 106 .
   ent invention;                                                             Energy is applied to the heater 106 from the electrical
     FIG . 2 illustrates a cross -sectional side view of a second 50        wires 108 , 110 in order to sever the portion of the tether 104
   embodiment of a detachment system according to the pres -                in the proximity of the heater 106 . It is not necessary for the
   ent invention ;                                                          heater 106 to be in direct contact with the tether 104 . The
      FIG . 3A illustrates example direct signaling current                 heater 106 merely should be in sufficient proximity to the
   according to the present invention;                                      tether 104 so that heat generated by the heater 106 causes the
      FIG . 3B illustrates example alternating signaling current 55         tether 104 to sever. As a result of activating the heater 106 ,
   according to the present invention ;                                     the section of the stretch resistant tether 104 that is approxi
      FIG . 4 illustrates a cross -sectional side view of a third           mately distal from the heater 106 and within the lumen of an
   embodiment of a detachment system according to the pres-                  implant device 112 is released from the pusher 102 along
   ent invention ;                                                          with the implant device 112 .
      FIG . 5 illustrates example temperature data of the surface 60           As illustrated , the implant device 112 is an embolic coil.
   of a detachment system according to the present invention ;              An embolic coil suitable for use as the implant device 112
      FIG . 6 illustrates a cross - sectional side view of an elec -        may comprise a suitable length of wire formed into a helical
   trical connector of a detachment system according to the                 microcoil . The coil may be formed from a biocompatible
   present invention ;                                                      material including platinum , rhodium , palladium , rhenium ,
      FIG . 7 illustrates a cross -sectional side view of 65 tungsten , gold , silver, tantalum , and various alloys of these
   radiopaque layers of a detachment system according to the                metals , as well as various surgical grade stainless steels .
   present invention ; and                                                  Specific materials include the platinum / tungsten alloy
                                                                                                                                    Exhibit E
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                                                        US 10 ,076 ,338 B2
   known as Platinum 479 (92 % Pt, 8 % W , available from                 fication numbers are used to identify other elements/com
   Sigmund Cohn , ofMount Vernon , N . Y .) and nickel/titanium           ponents of detachment system 100 that may correspond to
   alloys (such as the nickel/titanium alloy known as Nitinol).           elements /components of detachment system 200 . Reference
      Another material that may be advantageous for forming               is made to the description of these elements in the descrip
   the coil is a bimetallic wire comprising a highly elastic metal 5 tion of detachment system 100 as that description also
   with a highly radiopaque metal. Such a bimetallic wire applies to these common elements in detachment system
   would also be resistant to permanent deformation . An 200 .
   example of such a bimetallic wire is a product comprising a
   Nitinol outer layer and an inner core of pure reference grade 206With      detachment system 200 , an interior heating element
                                                                          is used to separate a section of a stretch resistant tube
   platinum , available from Sigmund Cohn , of Mount Vernon , 10 104 and an associated implant device 112 from the detach
   N . Y ., and Anomet Products , of Shrewsbury, Mass .
      Commonly -assigned U .S . Pat . No. 6 ,605 , 101 provides a ment      system 200 . Detachment system 200 includes a deliv
   further description of embolic coils suitable for use as the detachment 202
                                                                      ery pusher       that incorporates a core mandrel 218 . The
                                                                                  system   200 further includes a positive electrical
   implant device 112 , including coils with primary and sec
                                                          uration 155 wire 208 and a negative electrical wire 210 that extend
   ondary configurations wherein the secondary configuration
   minimizes the degree of undesired compaction of the coil               through the lumen of the delivery pusher 202 .
   after deployment. The disclosure of U . S . Pat. No. 6 ,605 . 101         To form the internal heating element 206 , the positive
   is fully incorporated herein by reference . Furthermore , the          electrical wire 208 and the negative electrical wire 210 may
   implant device 112 may optionally be coated or covered                 be coupled to the core mandrel 218 of the delivery pusher
   with a hydrogel or a bioactive coating known in the art.            20 202 . Preferably, the electrical wires 208 , 210 are coupled to
      The coil-type implant device 112 resists unwinding                  a distal portion of the core mandrel 218 .
   because the stretch resistant tether 104 that extends through            In one embodiment, the positive electrical wire 208 is
   the lumen of the implant device 112 requires substantially             coupled to a first distal location on the core wire 218 , and the
   more force to plastically deform than the implant device 112 negative electrical wire 210 is coupled to a second distal
   itself. The stretch resistant tether 104 therefore assists in 25 location on the core mandrel 218 , with the second distal
   preventing the implant device 112 from unwinding in situ         location being proximal to the first distal location . In another
   ations in which the implant device 112 would otherwise           embodiment, the configuration is reversed , i. e ., the positive
   unwind .                                                         electrical wire 208 is coupled to the second distal location
      During assembly, potential energy may be stored within and         the negative electrical wire 210 is coupled to the first
   the device to facilitate detachment. In one embodiment, an 30 distal location on the core mandrel 218 . When the positive
   optional spring 116 is placed between the heater 106 and the
   implant device 112 . The spring is compressed during assem       electrical wire 208 and the negative electrical wire 210 are
   bly and the distal end of the tether 104 may be tied or coupled  distal
                                                                              to the distal portion of the core mandrel 218 , the
                                                                            portion  of the core mandrel 218 along with the
   coupled to the distal end of the implant device 112 , or may
                                                                25. electrical
                                                                      let element208
   be melted or otherwise formed into an atraumatic distal end 35 heating      wires      , 210 forms a circuit that is the interior
    114 .                                                                              206 .
      In one embodiment, the stretch resistant tether 104 is            The heater 206 increases in temperature when a current is
   made from a material such as a polyolefin elastomer, poly -            applied from a power source ( not shown ) that is coupled to
   ethylene, or polypropylene. One end of the tether 104 is               the positive electrical wire 208 and the negative electrical
   attached to the pusher 102 and the free end of the tether 104 40 wire 210 . As a result, the portion of the stretch resistant
   is pulled through the implant 112 with the proximal end of             tether 104 in proximity to the heater 206 severs and is
   the implant 112 flush to either the heater 106 ( if no spring          detached from the detachment system 200 along with the
    116 is present) or to the compressed spring 116 . A pre - set         implant device 112 .
   force or displacement is used to pre-tension the tether 104 ,          Because the heater 206 is located within the lumen of the
   thus storing energy in an axial orientation (i.e . co - linear or 45 tube-shaped tether 104 , the heater 206 is insulated from the
   parallel to the long axis of the pusher 102 ) within the tether        body of the patient. As a result , the possibility of inadvertent
    104 . The force or displacement depends on the tether                 damage to the surrounding body tissue due to the heating of
   material properties, the length of the tether 104 (which itself        the heater 206 may be reduced .
   depends on the tether ' s attachment point on the pusher and              In one embodiment of the detachment system 200 , the
   the length of the implant ). Generally , the force is below the 50     proximal end of the stretch resistant tether 104 ( or the distal
   elastic limit of the tether material, but sufficient to cause the      end of a larger tube (not shown ) coupled to the proximal end
   tether to sever quickly when heat is applied . In one preferred        of the stretch resistant tether 104 ) may be flared in order to
   embodiment wherein the implant to be deployed is a cere                address size constraints and facilitate the assembly of the
   bral coil, the tether has a diameter within the range of detachment system 200.
   approximately 0 .001 to 0 .007 inches. Of course the size of 55 In a similar manner as with detachment system 100 ,
   the tether can be changed to accommodate different types       energy may be stored within the system with , for example ,
   and sizes of other implants as necessary .                     an optional compressive spring 116 or by pre - tensioning the
      Turning to FIG . 2 , another embodiment of a detachment             tether 104 during assembly as previously described. When
   system of the present invention , detachment system 200, is            present, the release of potential energy stored in the system
   illustrated . Detachment system 200 shares several common 60 operates to apply additional pressure to separate the implant
   elements with detachment system 100. For example , the                 device 112 , and the portion of the stretch resistant tether 104
   same devices usable as the implant device 112 with detach -            to which the implant device 112 is coupled , away from the
   ment system 100 are also usable as the implant device 112              heater 206 when the implant device 112 is deployed . This
   with detachment system 200 . These include, e . g ., various advantageously lowers the required detachment time and
   embolic microcoils and coils . The implant device 112 has 65 temperature by causing the tether 104 to sever and break .
   been previously described with respect to detachment sys        As with detachment system 100 , the distal end of the
   tem 100 . As with the implant device 112 , the same identi-  stretch resistant tether 104 of detachment system 200 may be
                                                                                                                                  Exhibit E
                                                                                                                                  Page 13
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   tied or coupled to the distal end of the implant device 112 ,        advantageously lowers the required detachment time and
   or may be melted or otherwise formed into an atraumatic     temperature by causing the tether 310 to sever and break .
   distal end 114 .                                               The present invention also provides for methods of using
      FIG . 4 illustrates another preferred embodiment of a    detachment systems such as detachment systems 100 , 200 ,
   detachment system 300 . In many respects , the detachment 5 or 300 . The following example relates to the use of detach
   system 300 is similar to the detachment system 200 shown ment system 100 , 200 , or 300 for occluding cerebral aneu
   in FIG . 2 and detachment system 100 shown in FIG . 1 . For rysms. It will, however, be appreciated that modifying the
   example , the detachment system 300 includes a delivery dimensions       of the detachment system 100 , 200 , or 300 and
                                                               the component parts thereof and/or modifying the implant
   pusher 301 containing a heater 306 that detaches an implant
   device 302. Detachment system 300 also utilizes a tether 310 10 device
                                                                        system
                                                                                 112 , 302 configuration will allow the detachment
                                                                                 100 , 200, or 300 to be used to treat a variety of other
   to couple the implant device 302 to the delivery pusher 301. malformations            within a body.
      In the cross- sectional view of FIG . 4 , a distal end of the        With   this particular example, the delivery pusher 102 ,
   delivery pusher 301 is seen to have a coil- shaped heater 306        202 , or 301 of the detachment system 100 , 200 , or 300 may
   that is electrically coupled to electrical wires 308Sand
                                                          and. 309
                                                               309.. 15 be approximately 0 .010 inches to 0 . 030 inches in diameter .
    These wires 308 , 309 are disposed within the delivery              The tether 104 , 310 that is coupled near the distal end of the
   pusher 301, exiting at a proximal end of the delivery pusher         delivery pusher 102. 202 . or 301 and is coupled the implant
   301 and coupling to a power supply (not shown ). The tether          device 112 , 302 may be 0 .0002 inches to 0 .020 inches in
   310 is disposed in proximity to the heater 306 , having a            diameter. The implant device 112, 302; which may be a coil,
   proximal end fixed within the delivery pusher 301 and a 20 may be approximately 0 .005 inches to 0 .020 inches in
   distal end coupled to the implant device 302 . As current is diameter and may be wound from 0 . 0005 inch to 0 .005 inch
   applied through wires 308 and 309, the heater 306 increases  wire.
    in temperature until the tether 310 breaks, releasing the        If potential energy is stored within the detachment system
    implant device 302 .                                           100, 200, or 300 , the force used to separate the implant
      To reduce the transfer of heat from the heater 306 to the 25 device 112 , 302 typically ranges up to 250 grams.
   surrounding tissue of the patient and to provide electrical        The delivery pusher 102 , 202 , or 301 may comprise a core
   insulation , an insulating cover 304 is included around at           mandrel 218 and at least one electrically conductive wire
   least the distal end of the outer surface of the delivery pusher      108 , 110 , 208 , 210 , 308 , or 309 . The core mandrel 218 may
   301. As the thickness of the cover 304 increases , the thermal       be used as an electrical conductor, or a pair of conductive
   insulating properties also increase . However , increased 30 wires may be used , or a bipolar wire may be used as
   thickness also brings increased stiffness and a greater diam -       previously described .
    eter to the delivery pusher 301 that could increase the                Although the detachment systems 100 , 200, and 300 have
   difficulty of performing a delivery procedure . Thus, the            been illustrated as delivering a coil , other implant devices
   cover 304 is designed with a thickness that provides suffi           are contemplated in the present invention . For example ,
   cient thermal insulating properties without overly increasing 35 FIG . 8 illustrates the detachment system 300 as previously
   its stiffness.                                                       described in FIG . 4 having an implant that is a stent 390 .
      To enhance attachment of the tether 310 to the implant             This stent 390 could similarly be detached by a similar
   device 302 , the implant device 302 may include a collar             method as previously described in regards to the detachment
   member 322 welded to the implant device 302 at weld 318       systems 100 , 200 , and 300 . In a further example , the
   and sized to fit within the outer reinforced circumference 40 detachment systems 100 , 200 , or 300 may be used to deliver
   312 of the delivery pusher 301. The tether 310 ties around    a filter, mesh , scaffolding or other medical implant suitable
   the proximal end of the implant device 302 to form knot 316 . for delivery within a patient.
   Further reinforcement is provided by an adhesive 314 that is            FIG . 7 presents an embodiment of a delivery pusher 350 ,
   disposed around the knot 316 to prevent untying or other             which could be used in any of the embodiments as delivery
   wise unwanted decoupling.                                45 pusher 102 , 202 , or 301 , which includes radiopaque mate
     In a similar manner as with detachment systems 100 and    rials to communicate the position of the delivery pusher 350
   200 , energy may be stored within the system with , for              to the user. Specifically, the radiopaque marker material is
   example, an optional compressive spring (similar to com - integrated into the delivery pusher 350 and varied in thick
   pressive spring 116 in FIG . 1 but not shown in FIG . 4 ) or by ness at a desired location , facilitating easier and more
   axially pre -tensioning the tether 104 during assembly. In this 50 precise manufacturing of the final delivery pusher 350 .
   embodiment, one end of the tether 310 is attached near the              Prior delivery pusher designs , such as those seen in U .S .
   proximal end of the implant device 302 as previously                 Pat. No. 5 ,895 ,385 to Guglielmi, rely on high -density mate
   described . The free end of the tether 310 is threaded through       rial such as gold , tantalum , tungsten , or platinum in the form
   a distal portion of the delivery pusher 301 until it reaches an   of an annular band or coil. The radiopaque marker is then
   exit point (not shown ) of the delivery pusher 301. Tension is 55 bonded to other, less dense materials , such as stainless steel,
   applied to the tether 310 in order to store energy in the form    to differentiate the radiopaque section . Since the radiopaque
   of elastic deformation within the tether material by , for           marker is a separate element placed at a specified distance
   example , placing a pre -determined force on the free end of         (often about 3 cm ) from the tip of the delivery pusher , the
   the tether 310 or moving the taut tether 310 a pre - determined      placement must be exact or the distal tip of the delivery
   displacement. The free end of the tether 310 is then joined 60 pusher 350 can result in damage to the aneurysm or other
   to the delivery pusher 301 by, for example, tying a knot,            complications . For example , the delivery pusher 350 may be
   applying adhesive, or similar methods known in the art.              overextended from the microcatheter to puncture an aneu
      When present, the release of potential energy stored in the rysm . Additionally , the manufacturing process to make a
   system operates to apply additional pressure to separate the   prior delivery pusher can be difficult and expensive , espe
   implant device 302 , and the portion of the tether 310 to 65 cially when bonding dissimilar materials.
   which the implant device 302 is coupled , away from the           The radiopaque system of the present invention over
   heater 306 when the implant device 302 is deployed . This comes these disadvantages by integrating a first radiopaque
                                                                                                                                 Exhibit E
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   material into most of the delivery pusher 350 while varying           354 and outer layer 352 are viewed under fluoroscopy. The
   the thickness of a second radiopaque material, thus elimi            user aligns a radiopaque marker on the microcatheter with
   nating the need to bond multiple sections together. As seen          the beginning of the distal region 360, which communicates
   in FIG . 7 , the delivery pusher 350 comprises a core mandrel        the location of the implant 112 , 302 relative to the tip of the
    354 (i.e . the first radiopaque material), preferably made from 5   microcatheter.
   radiopaquematerial such as tungsten , tantalum , platinum , or          In some situations, for example , small aneurysms where
   gold ( as opposed to the mostly radiolucent materials of the          there may be an elevated risk of vessel damage from the
   prior art designs such as steel, Nitinol, and Elgiloy ) .             stiffness of the delivery pusher 350, the user may position
      The delivery pusher 350 also includes a second , outer             the proximal end of the implant slightly within the distal end
   layer 352 , having a different radiopaque level. Preferably , 10 of the microcatheter during detachment . The user then may
   outer layer 352 is composed of a material having a lower push the proximal end of the implant 112 , 302 out of the
   radiopaque value than the core mandrel 354 , such as Elgiloy, microcatheter with the next coil, an adjunctive device such
   Nitinol, or stainless steel (commercially available from Fort        a s guidewire, or the delivery pusher 102 , 202, 301, or 350 .
   Wayne Metals under the trade name DFT ). In this respect,             In another embodiment, the user may use the radiopaque
   both the core mandrel 354 and the outer layer 352 are visible 15 marking system to locate the distal end of the delivery
   and distinguishable from each other under fluoroscopy . The          pusher outside the distal end of the microcatheter.
   outer layer 352 varies in thickness along the length of the            Once the implant device 112, 302 of the detachment
   delivery pusher 350 to provide increased flexibility and             system 100, 200, or 300 is placed in or around the target site ,
   differentiation in radio -density . Thus the thicker regions of      the operator may repeatedly reposition the implant device
   the outer layer 352 are more apparent to the user than the 20         112 , 302 as necessary or desired .
   thinner regions under fluoroscopy .                                     When detachment of the implant device 112 , 302 at the
      The transitions in thickness of the outer layer 352 can be         target site is desired , the operator applies energy to the heater
   precisely created at desired locations with automated pro            106 , 206 , or 306 by way ofthe electrical wires 108 , 110 , 208 ,
   cesses such as grinding, drawing, or forging. Such auto -            210 , 308 , or 309. The electrical power source for the energy
   mated processes eliminate the need for hand measuring and 25 may be any suitable source , such as , e . g ., a wall outlet, a
   placement of markers and further eliminates the need to      capacitor, a battery , and the like . For one aspect of this
   bond a separate marker element to other radiolucent sec              method , electricity with a potential of approximately 1 volt
   tions , thus reducing the manufacturing cost and complexity           to 100 volts is used to generate a current of 1 milliamp to
   of the system .                                          5000 milliamps, depending on the resistance of the detach
      In the present embodiment, the delivery pusher 350 30 ment system 100 , 200 , or 300 .
   includes three main indicator regions of the outer layer 352 .          One embodiment of a connector system 400 that can be
    A proximal region 356 is the longest of the three at 137 cm ,        used to electrically couple the detachment system 100 , 200 ,
   while a middle region 358 is 10 cm and a distal region 360            or 300 to the power source is shown in FIG . 6 . The connector
   is 3 cm . The length of each region can be determined based          system 400 includes an electrically conductive core mandrel
   on the use of the delivery pusher 350 . For example , the 3 cm 35 412 having a proximal end surrounded by an insulating layer
   distal region 360 may be used during a coil implant proce -           404. Preferably the insulating layer 404 is an insulating
   dure , as known in the art, allowing the user to align the sleeve such as a plastic shrink tube of polyolefin , PET,
   proximal edge of the distal region 360 with a radiopaque Nylon , PEEK , Teflon , or polyimide. The insulating layer 404
   marker on the microcatheter within which the delivery may also be a coating such as polyurethane, silicone , Teflon ,
   pusher 350 is positioned . The diameter of each of the regions 40 paralyene . An electrically conductive band 406 is disposed
   depends on the application and size of the implant. For a on top of the insulating layer 404 and secured in place by
   typical cerebral aneurysm application for example, the               molding bands 414 , adhesive , or epoxy . Thus, the core
   proximal region 356 may typically measure 0 .005 -0 .015             mandrel 412 and the conductive band 406 are electrically
    inches, the middle region 358 may typically measure 0 .001-         insulated from each other. The conductive band 406 is
   0 .008 inches , while the distal region 360 may typically 45 preferably composed of any electrically conductive material,
   measure 0 .0005 - 0.010 inches. The core mandrel 354 will             such as silver , gold , platinum , steel, copper, conductive
   typically comprise between about 10 -80 % of the total diam -        polymer, conductive adhesive, or similar materials , and can
   eter of the delivery pusher 350 at any point.                      be a band , coil, or foil. Gold is especially preferred as the
      Alternately, the delivery pusher 350 may include any            conductive material of the conductive band 406 because of
   number of different regions greater than or less than the three 50 the ability of gold to be drawn into a thin wall and its ready
   shown in FIG . 7 . Additionally , the radiopaque material of the   availability . The core mandrel 412 has been previously
   core mandrel 354 may only extend partially through the described and may be plated with , for example, gold , silver,
   delivery pusher 350. For example, the radiopaque material copper, or aluminum to enhance its electrical conductivity .
   could extend from the proximal end ofthe core mandrel 354             The connector system 400 also includes two electrical
   to three centimeters from the distal end of the delivery 55 wires 408 and 410 which connect to the conductive band 406
   pusher 350 , providing yet another predetermined position            and core member 412 , respectively , and to a heating element
   marker visible under fluoroscopy .                               at the distal end of a delivery system such as those described
       In this respect, the regions 356 , 358 , and 360 of delivery in FIGS . 1, 2 , and 4 (not shown in FIG . 6 ). These wires 408
   pusher 350 provide a more precise radiopaque marking and 410 are preferably connected by soldering, brazing ,
    system that is easily manufactured , yet is readily apparent 60 welding , laser bonding, or conductive adhesive, or similar
   under fluoroscopy . Further, the increased precision of the techniques.
   markers may decrease complications relating to improper                 Once the user is ready to release the implant 112, 302
   positioning of the delivery pusher during a procedure.               within the patient, a first electrical clip or connector from a
      In operation , the microcatheter is positioned within a           power source is connected to a non -insulated section 402 of
   patient so that a distal end of the microcatheter is near a 65 the core mandrel 412 and a second electrical clip or con
   target area or lumen . The delivery pusher 350 is inserted into      nector from the power source is connected to the conductive
   the proximal end of the microcatheter and the core mandrel           band 406 . Electrical power is applied to the first and second
                                                                                                                                  Exhibit E
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   electrical clips, forming an electrical circuit within the               detachment, a similar signaling current is used to determine
   detachment system 100 , 200 , or 300 , causing the heater 106 ,
                                                             a second inductance value that is compared to the initial
   206 , or 306 to increase in temperature and sever the tether
                                                             inductance value . A substantial difference between the initial
   104 , 310 .                                               inductance and the second inductance value indicates that
     Once the detachment system 100 , 200, or 300 is con - 5 the implant 112 , 302 has successfully been detached , while
   nected to the power source the user may apply a voltage or               the absence of such a difference indicates unsuccessful
   current as previously described . This causes the heater 106 ,           detachment. In this respect, the user can easily determine if
   206 , or 306 to increase in temperature . When heated , the              the implant 112 , 302 has been detached , even for delivery
   pre -tensioned tether 104, 310 will tend to recover to its           systems that utilize nonconductive temperature sensitive
   unstressed ( shorter ) length due to heat-induced creep . In this 10 polymers to attach an implant, such as those seen in FIGS.
   respect, when the tether 104 , 310 is heated by the heater 106 ,         1 , 2 , and 4 .
   206, or 306 ; its overall size shrinks. However, since each end             In the following description and examples, the terms
   of the tether 104 , 310 is fixed in place as previously                  " current" and " electrical current" are used in the most
   described , the tether 104 , 310 is unable to shorten in length ,        general sense and are understood to encompass alternating
   ultimately breaking to release the implant device 112 , 302. 15 current (AC ), direct current (DC ), and radiofrequency cur
      Because there is tension already within the system in the rent (RF ) unless otherwise noted . The term “ changing" is
   form of a spring 116 or deformation of the tether material defined as any change in current with a frequency above
   104, 310 ; the amount of shrinkage required to break the zero , including both high frequency and low frequency .
   tether 104 , 310 is less than that of a system without a      When a value is measured , calculated and /or saved , it is
   pre -tensioned tether. Thus , the temperature and time 20 understood that this may be done either manually or by any
   required to free the implant device 112 , 302 is lower.       known electronic method including, but not limited to , an
      FIG . 5 is a graph showing the temperatures at the surface electronic circuit, semiconductor, EPROM , computer chip ,
   of PET cover 304 of the detachment system 300 . As can be                computer memory such as RAM , ROM , or flash ; and the
   seen , the surface temperature of the detachment system 300              like. Finally , wire windings and toroid shapes carry a broad
   during detachment does not vary linearly with time. Spe - 25 meaning and include a variety of geometries such as circular,
   cifically, it only takes just under 1 second for the heat                elliptical, spherical, quadrilateral, triangular , and trapezoidal
   generated by the heating coil 306 to penetrate the insulating            shapes .
   cover 304 . After 1 second, the surface temperature of the                 When a changing current passes through such objects as
    insulating cover 304 dramatically increases . Although dif-             wire windings or a toroid , it sets up a magnetic field . As the
   ferent outer insulating material may slightly increase or 30 current increases or decreases, the magnetic field strength
   decrease this 1 - second surface temperature window , the    increase or decreases in the same way . This fluctuation of the
   necessarily small diameter of the detachment system 100 ,                magnetic field causes an effect known as inductance , which
   200 , or 300 prevents providing a thick insulating layer that            tends to oppose any further change in current. Inductance
   may more significantly delay a surface temperature increase .            (L ) in a coil wound around a core is dependant on the
      It should be understood that the embodiments of the              35   number of turns ( N ), the cross -sectional area of the core ( A ),
   detachment system 100, 200, or 300 include a variety of                  themagnetic permeability of the core (u ), and length of the
   possible constructions. For example , the insulating cover               coil (1) according to Equation 1 below :
   304 may be composed of Teflon , PET, polyamide, polyim
   ide , silicone, polyurethane, PEEK , ormaterials with similar
   characteristics. In the embodiments 100, 200 , or 300 the 40                                                                      Equation 1
   typical thickness of the insulating cover is 0 .0001 -0 .040                                  L = 477N ?AJU
   inches . This thickness will tend to increase when the device
   is adapted for use in , for example , proximal malformations,
   and decrease when the device is adapted for use in more                The heater 106 or 306 is formed from a wound coil with
                                                                            proximal and distal electrically conductive wires 108 , 110 ,
   distal, tortuous locations such as , for example , cerebral 45 308, or 309 attached to a power source . The tether 104 , 310
   aneurysms.
       In order to minimize the damage and possible complica has           a magnetic permeability ul and is positioned through the
                                                                       center  of the resistive heater, having a length 1, cross
   tions caused by such a surface temperature increase , the
   present invention detaches the implant device 112, 302 sectional                area A , and N winds , forming a core as described
   before the surface temperature begins to significantly 50 signaling currentequation
                                                                       in the  previous              . Prior to detachment, a changing
                                                                                            in , such as the waveforms shown in FIGS.
    increase . Preferably , the implant device 112, 302 is detached    3A and 3B , with frequency f1, is sent through the coil
   in less than a second, and more preferably, in less than 0.75 windings         . This signaling current is generally insufficient to
   seconds. This prevents the surface temperature from exceed          detach   the   implant. Based on the signaling current, the
    ing 50° C . ( 122° F .), and more preferably, from exceeding inductive resistance            XL (i.e. the electrical resistance due to
   42° C . ( 107° F.).                                              55
                                                                       the inductance within the system ) is measured by an elec
      Once the user attempts to detach the implant device 112 , tronic circuit such as an ohmmeter. The initial inductance of
   302, it is often necessary to confirm that the detachment has the       system L1 is then calculated according to the formula :
   been successful. The circuitry integrated into the power
   source may be used to determine whether or not the detach
   ment has been successful. In one embodiment of the present 60                                         XL                          Equation 2
    invention an initial signaling current is provided prior to                                    L1 = 277 fi
   applying a detachment current (i.e . current to activate the
   heater 106 , 206 , or 306 to detach an implant 112 , 302 ). The
   signaling current is used to determine the inductance in the    This initial value of the inductance L1 depends on the
   system before the user attempts to detach the implant and 65 magnetic permeability ul of the core of the tether 104 , 310
   therefore has a lower value than the detachment current, so              according to Equation 1 , and is saved for reference . When
   as not to cause premature detachment. After an attempted                 detachment is desired , a higher current and /or a current with
                                                                                                                                      Exhibit E
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   a different frequency than the signaling current is applied            into a different configuration , such as a helicalwind, flower
   through the resistive heater coil , causing the tether 104 , 310       shape, sphere , box or similar complex shape ( not shown).
   to release the implant 112 , 302 as previously described . If             The stretch -resistantmember 502 of an implant 500 may
   detachment is successful, the tether 104, 310 will no longer           be formed from a variety of materials such as polyolefin ,
   be present within the heater 106 , 306 and the inside of the 5 polyethylene, polyolefin elastomers such as ethylene -octene
   heater 106 , 306 will fill with another material such as the           copolymer, biodegradable materials such as PGLA , hydro
   patient's blood , contrast media , saline solution , or air. This      gelmaterials based on , for example, acrylamide or polyeth
   material now within the heater core will have a magnetic               ylene glycol (PEG ) , polyethylene terephthalate (PET) ,
   permeability u2 that is different than the tether core magnetic
                                                             Nylon or amide - based polymers or block copolymers such
   permeability ul.                                       10 as PEBAX , polypropylene, etc .
      A second signaling current and frequency f2 is sent       The stretch -resistant member 502 has a distal end and a
   through the heater 106 , 306 and is preferably the same as the         proximal end and runs through the interior lumen of the coil
   first signaling current and frequency, although one or both            501 and , preferably , exits the winds of the coil 501 near the
   may be different without affecting the operation of the                proximal end of the coil 501. The stretch -resistant member
   system . Based on the second signaling current, a second 15 502 is then configured to wrap or tie around one or more
   inductance L2 is calculated . If the detachment was success -          winds of the coil 501 near the proximal end of the coil 501 .
   ful, the second inductance L2 will be different ( higher or            The stretch - resistant member 502 is then preferably attached
   lower) than the first inductance L1 due to the difference in           near the distal end of a coil 501 by wrapping or tying a knot
   the core magnetic permeabilities ul and u2. If the detach              (503, as shown in FIG . 9 ), adhesive bonding,melting the end
   ment was unsuccessful, the inductance values should remain 20 of the stretch - resistant member 502 to form a ball, or a
   relatively similar (with some tolerance for measurement       combination of the methods. In the embodiment in which a
   error ) . Once detachment has been confirmed by comparing     wrap or knot 503 is employed , the wrap or knot 503 may be
   the difference between the two inductances, an alarm or                made formed from a variety of techniques including an
   signal can be activated to communicate successful detach -             overhand knot, a half stitch , a surgeon ' s knot, or a combi
   ment to the user. For example , the alarm might include a 25 nation of wraps and knots . In a preferred embodiment, the
   beep or an indicator light.                                            stretch -resistant member 502 is configured such that it does
      Preferably, the delivery system 100 , 300 used according not wrap around itself . In such a configuration , the tensile
   to this invention connects to a device that automatically         strength of the stretch - resistant member 502 is increased .
   measures inductance at desired times , performs required             Once a wrap or knot 503 is formed, a free (proximal) end
   calculations , and signals to the user when the implant device 30 of the stretch - resistant member 502 remains. At this point in
   has detached from the delivery catheter. However, it should            the manufacturing process , the portion of the member 502
   be understood that part or all of these steps can be manually          distal to the wrap or knot 503 up to the distal attachment
   performed to achieve the same result .                                 point will provide stretch resistance to the proximal end of
      The inductance between the attached and detached states             the member because the knot or wrap 503 (along with any
   can also preferably be determined without directly calculat- 35 adhesive used ) is configured to reduce or prevent slipping .
   ing the inductance . For example , the inductive resistance XL  Thus, the coil 501 will substantially retain its original
   can be measured and compared before and after detachment.              configuration as formed prior to introduction of the stretch
   In another example , the detachment can be determined by               resistant member 502.
   measuring and comparing the time constant of the system ,                 The proximal end of the stretch -resistant member 502 is
   which is the time required for the current to reach a               40 then passed through , around and / or in proximity to a heater
   predetermined percentage of its nominal value . Since the              element and tension is then placed on the proximal portion
   time constant depends on the inductance , a change in the              of the stretch -resistant member 502 as described in U . S .
   time constant would similarly indicate a change in induc - patent Ser. No . 11 /212 ,830 (as earlier described and incor
   tance .                                                        porated by reference herein ). Since the distal portion of the
      The present invention may also include a feedback algo - 45 stretch - resistant member 502 is at least partially isolated
   rithm that is used in conjunction with the detachment                  from the proximal portion of the stretch - resistant member
   detection described above . For example , the algorithm auto -         502 by the wrap or knot 503 , the tension in the distal portion
   matically increases the detachment voltage or current auto -           of the stretch - resistant member 502 that is distal to the wrap
   matically after the prior attempt fails to detach the implant or knot 503 will be less than the tension in the proximal
   device . This cycle of measurement, attempted detachment, 50 portion of the stretch - resistant member 502 that is proximal
   measurement, and increased detachment voltage /current                 to the wrap or knot 503. The proximal end or a proximal
   continues until detachment is detected or a predetermined              segment of the stretch -resistant member 502 is then tied ,
   current or voltage limit is attained . In this respect, a low          bonded or otherwise attached to the delivery catheter.
   power detachment could be first attempted , followed auto                 The implant 500 is then introduced into a body and
   matically by increased power or time until detachment has 55 positioned by methods known in the art. When the implant
   occurred . Thus , battery life for a mechanism providing the           has been placed in the desired position ( e . g ., where the user
   detachment power is increased while the average coil                   intends to detach it from a delivery catheter ), the heating
   detachment time is greatly reduced .                                   element is activated as described in U . S . patent application
      Referring now to FIG . 9 , there is shown an embodiment             Ser. No. 11 /212 , 830 and the member 502 is severed at or
   of an implant 500 of the present invention . In one embodi- 60         near the heater element. Thus , in one embodiment, the distal
   ment, the implant 500 includes a coil 501 and a stretch -              end of the member 502 remains bonded to the implant 500
   resistant member 502, the stretch - resistant member 502               and the proximal end of the member 502 remains bonded to
   being configured to form a wrap or knot 503 about at least             the delivery catheter after the coil 501 is detached .
   one wind of said coil 501.                                                As shown in FIG . 9 , a preferred embodiment of the
      The coil 501 of an implant 500 may be formed from winds 65 present invention includes a hydrogel material 504, which
   of, for example , metal or plastic wire . Although shown in a          may be placed in proximity to the stretch -resistantmember
   straight configuration in FIG . 9 , a coil may also be formed          502 . In FIG . 9 , the hydrogel material runs substantially
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   parallel to the stretch -resistant member 502 . In another    ene, polyolefin elastomers, ethylene-octene copolymer, bio
   embodiment, the hydrogel material may be wrapped , tied       degradable materials , PGLA , hydrogel, acrylamide, PEG ,
   around or otherwise intertwined with the stretch -resistant PET, nylon , amide-based polymers, block copolymers,
   member and / or the coil ( not shown ).                       PEBAX , polypropylene.
       Although the invention has been described in terms of 5 5 . The detachable implant delivery system of claim 1 ,
   particular embodiments and applications, one of ordinary wherein said microcoil further comprises a hydrogel mate
   skill in the art, in light of this teaching , can generate    rial.
   additional embodiments and modifications without depart          6. The detachable implant delivery system of claim 1 ,
   ing from the spirit of or exceeding the scope of the claimed  wherein  said second section of said stretch -resistantmember
    invention . Accordingly , it is to be understood that the 10 is connected   at said distal location of said microcoil by
   drawings and descriptions herein are proffered by way of             melting said tether to form a ball.
   example to facilitate comprehension of the invention and
   should not be construed to limit the scope thereof.                     7 . A method of detaching a microcoil from an implant
     We claim :                                                         delivery system , comprising :
     1 . A detachable implant delivery system , comprising : 15           advancing a delivery system within a patient;
     a delivery device having a heater coil proximate a distal            activating a heater located at a distal end of said implant
         end of said delivery device ;                                       delivery system ;
      a microcoil comprising a helical wire ; and ,                       heating a first section of a tether that is pre - tensioned
      a stretch - resistant member characterized by a single                between a first location on said implant delivery device
        monofilament and connecting said delivery device and 20              so as to enhance breakage along said first section of
        said microcoil; said stretch -resistant member passing              said tether ; said tether further connecting to a second
        through a lumen of said microcoil and being attached at              location at a proximal end of said microcoil so as form
        a first location near a distal end of said microcoil , at a         a second section ;
        second location near a proximal end of said microcoil,            breaking said tether along said first section so as to release
        and at a third location near a distal end of said delivery 25        tension between said first location and said second
        device , such that said stretch -resistant member is                 location ;
        located within said heater coil;                                  maintaining connection of said second section of said
     wherein a first portion of said stretch -resistant member is            tether at said second location and at a third location at
        between said second location and said third location is              a distal end of said microcoil; said second section being
        tensioned so as to enhance breakage upon application 30              isolated from changes in tension between said first
        of heat by said heater coil, and wherein a second                      location and said second location so as to resist stretch
        portion of said stretch -resistant member is isolated                ing to retain an original configuration of said microcoil.
        from the tension of said first portion so as to resist             8 . The method of claim 7 , wherein said tether comprises
        stretching and thereby retain an original configuration         a material selected from the group consisting of polyolefin ,
         of said microcoil.                                             polyethylene, polyolefin elastomers, ethylene- octene copo
      2 . The detachable implant delivery system of claim 1 ,           lymer, biodegradable materials, PGLA , hydrogel, acrylam
   wherein said stretch -resistant member is attached to said           ide, PEG , PET, nylon , amide-based polymers , block copo
   microcoil at said first location with a knot.                        lymers , PEBAX , polypropylene .
      3. The detachable implant delivery system of claim 1,            9 . Themethod of claim 7 , wherein said tether is tied with
   wherein said stretch -resistant member is attached to saidii 40naa knot   at said third location .
                                                                       10 . The method of claim 7 , wherein said tether is con
   microcoil at said first location with adhesive bonding .             nected at said distal end of said microcoil by melting said
      4 . The detachable implant delivery system of claim 1 ,
   wherein said stretch -resistantmember comprises a material           tether to form a ball.
   selected from the group consisting of polyolefin , polyethyl                                *   *     *   *   *




                                                                                                                                Exhibit E
                                                                                                                                Page 18
